Case 1:03-cr-10090-.]DT Document 52 Filed 06/10/05 Page 1 of 3 Page|D 53
/?/e

0 l
IN THE UNITED sTATEs DIsTRrCT CoURT ‘j:,zz;, 3
FoR THE WESTERN DISTRICT or TENNESSEE C_,,___ 49 t 05

» ,… /
EASTERN DIVISION ///\/\’";/`,e WCSZ-
I`/ /"i.\“"’z` ' K// /i$`
vii /" div /;i?>j
/I/`l//é'/*%q/"{é?
uNiTED srATES or AMERICA, ) “'/V§@f§`/`
)
Plaintiff, )
)
VS. ) NO. l-O3-lO()90-T
)
HEATHER MICHELLE LEE, )
)
Defendant. )

 

ORDER GRANTING DEFENDANT’S MOTION FOR EXTENSION OF TIME IN
WHICH TO REPORT TO INSTITUTION

 

Defendant Heather Michelle Lee pled guilty to possession with intent to distribute
less than five (5) grams of methamphetamine in violation of 21 U.S.C. §94l(a)(l). On May
3, 2005, she Was sentenced to a term of thirteen (13) months imprisonment With the United
States Bureau ofPrisons. Defendant then filed a Notice oprpeal from the judgment to the
Sixth Circuit, however, the Sixth Circuit has declined to review Def`endant’s case While
motions are pending With the district court. Currently pending before the court is
Defendant’s motion for reconsideration of the sentence due to ex post facto consequencesl
Defendant is scheduled to report to a facility on June 16, 2005.

Before the court is Defendant’s motion for an extension of time in Which to report

 

l Defendant argues that her motion for bond is unresolved, however, the court entered an
order denying bond on May 26, 2005 . Therefore, the bond issue is no longer pending before the
court even though Def`endant has since filed a reply.

Th¥¢doeumemontmdonmdodc¢tmhwmpnanu
with male Eslndlorsztb) FRchnn

Case 1:03-cr-10090-.]DT Document 52 Filed 06/10/05 Page 2 of 3 Page|D 54

to prison in order to allow the court to resolve the motion pending For good cause shown,
Defendant’s motion is granted and M.`Will have thirty (30) additional days to report to
a facility.

IT IS SO ORDERED.

saw/gac

JAM D. TODD
UNI D STATES DISTRICT JUDGE

§ Q//w¢ QMS'"
DATE’ y

 

"DTISRICT COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 52 in
case l:03-CR-10090 Was distributed by f`aX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son, TN 38301

Honorable .l ames Todd
US DISTRICT COURT

